Case 8:10-cv-01572-DOC-CW Document 1 Filed 10/15/10 Page 1 of 10 Page ID #:2
Case 8:10-cv-01572-DOC-CW Document 1 Filed 10/15/10 Page 2 of 10 Page ID #:3
Case 8:10-cv-01572-DOC-CW Document 1 Filed 10/15/10 Page 3 of 10 Page ID #:4
Case 8:10-cv-01572-DOC-CW Document 1 Filed 10/15/10 Page 4 of 10 Page ID #:5
Case 8:10-cv-01572-DOC-CW Document 1 Filed 10/15/10 Page 5 of 10 Page ID #:6
Case 8:10-cv-01572-DOC-CW Document 1 Filed 10/15/10 Page 6 of 10 Page ID #:7
Case 8:10-cv-01572-DOC-CW Document 1 Filed 10/15/10 Page 7 of 10 Page ID #:8
Case 8:10-cv-01572-DOC-CW Document 1 Filed 10/15/10 Page 8 of 10 Page ID #:9
Case 8:10-cv-01572-DOC-CW Document 1 Filed 10/15/10 Page 9 of 10 Page ID #:10
Case 8:10-cv-01572-DOC-CW Document 1 Filed 10/15/10 Page 10 of 10 Page ID #:11
